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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

RINNE CORPORATION,
                                                      Case No. 22-cv-5808
                Plaintiff,
                                                      Judge Mary M. Rowland
v.
                                                      Magistrate Judge Jeffrey Cole
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE "A",
                Defendants.

 PLAINTIFF’S MOTION TO RECONSIDER THE DEFAULT JUDGMENT AMOUNT

        Plaintiff Rinne Corp. (“Plaintiff”), by and through its undersigned counsel, hereby moves

this Honorable Court to reconsider the amount of relief in the Court’s recent Default Judgment

Order (Dkt 122), and in support thereof, states as follows:

        1.      Plaintiff’s first Motion for Entry of Default and Default Judgment and

accompanying memorandum (Dkt 81 & 82) (collectively the “Frist Default Motion”) requested an

award of $250,000 per defaulting Defendant for the defaulting Defendants’ willful trademark

counterfeiting/infringement and a further award of $150,000 per defaulting Defendant for the

defaulting Defendants’ willful copyright infringement.

        2.      On February 14, 2023, this Court granted Plaintiff’s First Motion in part, and in the

Default Judgment Order (Dkt 88) adjusted the awards outlined above to $50,000 and $25,000

respectively.

        3.      Plaintiff recently filed a second Motion for Entry of Default and Default Judgment

and accompanying memorandum (Dkt 119 & 120) (collectively the “Second Default Motion”) and

requested the same reduced awards that this Court included in the Order entered pursuant to
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Plaintiff’s First Default Motion. Plaintiff purposefully asked for the same award previously granted

by the Court as to be consistent among all Defendants in this matter.

       4.      The facts as to the Default Defendants identified in Plaintiff's Second Default

Motion are the same or substantially similar to those of the defaulting Defendants identified in

Plaintiff's First Default Motion. In other words, there is nothing different about these Defaulting

Defendants and the previously defaulted Defendants that would justify different Default Judgment

awards.

       THEREFORE, Plaintiff urges this Court to reconsider the award amounts of $5,000 per

Defaulting     Defendant      for     the    Defaulting      Defendants’       willful   trademark

counterfeiting/infringement and of $2,000 per Defaulting Defendant for the Defaulting

Defendants’ willful copyright infringement and enter an amended default judgment order with the

same $50,000 and $25,000 awards contained in the first Default Judgment Order.



Date: June 9, 2023                                   Respectfully submitted,

                                                     /S/BRANDON BEYMER
                                                     BRANDON BEYMER (ARDC NO. 6332454)
                                                     DALIAH SAPER (ARDC NO. 6283932)
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                                                     ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 9, 2023, I electronically filed the foregoing with the Court

using the CM/ECF system, and I will serve Defendants with this Motion and Memorandum

through email and electronic publication.



                                                                    /s/ Brandon Beymer
                                                                      Brandon Beymer




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